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            EXHIBIT "B"
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                        SETTLEMENT AND RELEASE AGREEMENT

       This Settlement and Release Agreement ("Agreement") is entered into as of March 25,
2015 (the "Effective Date") between GENTEX CORPORATION, a Delaware corporation
("Plaintiff' or "Gentex"); HELICOPTER HELMET, LLC, a Delaware limited liability company
("Helicopter Helmet"); RONALD ABBOTT, a South Carolina resident ("Abbott"); and RONALD
ABBOTT d/b/a helicopterhelmet.com (Helicopter Helmet and Abbott and Ronald Abbott d/b/a
helicopterhelmet.com shall hereinafter be referred to as "Defendants")(Plaintiffs and Defendants
are collectively referred to herein as the "Parties" and may each be referred to individually as a
"Party").


                                                 RECITALS

(A)     WHEREAS, a dispute has arisen between the Parties as follows (the "Dispute"):

        (1) Gentex asserted claims against Defendants in the lawsuit filed in United States District
            Court for the Middle District of Pennsylvania, Civil Action No. 2012-cv-2549 (the
            "Gentex Lawsuit");

         (2) Defendants denied Gentex's allegations and filed an Answer, Affirmative Defenses and
             Counterclaims;

         (3) Plaintiffs and Defendants each deny and dispute the claims of the other; and

        (4) Scottsdale Insurance Company asserted insurance-oriented claims against Abbott,
             Helicopterhelmet.com, Helicopter Helmet, LLC (captioned HelicopterHelmet.com,
             LLC) and Gentex in a declaratory judgment action filed in the United States District
             Court for the Middle District of Pennsylvania, Civil Action No. 2014-CV-00996 (the
             "Scottsdale Lawsuit") (the Scottsdale Lawsuit and the Gentex Lawsuit are referred to
             collectively herein as the "Lawsuits"); and

(B)     WHEREAS, the Parties wish to compromise and settle finally and completely by this
        Agreement all claims that the Parties may have between them with respect to the Dispute
         and the Lawsuits,

                                           AGREEMENT


NOW THEREFORE, for good and valuable consideration, including the covenants and releases
herein contained, the receipt and sufficiency of which is hereby acknowledged, the Parties,
intending to be legally bound, agree as follows:

1.




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                                                                                                                   i
2.



3.




4.




5,       Releases.

         a.




         b. In consideration of the performance of the terms of this Agreement, Defendants
            (including without limitation the owners, shareholders, members, directors, officers,
            employees, subsidiaries, affiliates, representatives, agents, attorneys, predecessors,
              successors, and assigns of Defendants) and Scottsdale Insurance Company do hereby
              release, acquit, and forever discharge Plaintiff and the owners, shareholders, members,
              directors,   officers,   employees,     subsidiaries,   affiliates,   representatives,     agents,
              attorneys, predecessors, successors, and assigns of Plaintiff (collectively, "Plaintiff
              Released Parties") from any and all claims, demands, actions, causes of action, rights
              of action, suits, liabilities, expenses, and damages of every kind, nature, and description
              whatsoever that any of the Defendants may now or hereafter have or acquire, whether
              in law or equity, whether known or unknown, and whether accrued or to accrue, against
              Plaintiff Released Parties with respect to or in any way related to the Dispute or the
              Lawsuits, other than their obligations under this Agreement.




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6.       Confidentiality. The Parties agree that they will keep the terms of this Agreement, other
         than the Consent Decree, confidential and that the terms of this Agreement other than the
         Consent Decree will not be used, communicated, disclosed or divulged to any third party
         (aside from the Parties' accountants or legal representatives) whatsoever, in whole or in
         part, other than to carry out, effectuate and/or enforce the terms of this Agreement or
         Consent Decree,




7.




8.




9,       Applicable Law and Jurisdiction. This Agreement shall be governed by and construed
         in accordance with the laws ofthe Commonwealth of Pennsylvania. The state and federal
         courts of Pennsylvania shall have exclusive venue and jurisdiction over any dispute arising
         from or related to this Agreement. The parties agree that U.S. District Court for the Middle
         District ofPennsylvania, Judge Matthew Brann, retains jurisdiction for all purposes related
         to the Consent Decree.


10.




11.




12.




 13.




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14.



15.




16.



17.




                     [signatures on following pages]




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IN WITNESS WHEREOF, the Parties have executed this Settlement and Release Agreement as
of the Effective Date set forth above.


PLAINTIFF:




GENTEX CORPORATION



By:                                                          Dated:       Ouh-C X                          ,,2015
Name:       IP vvledg^ nr
Its:       ?r€$\dfjg±




                          !A-.)
County of                  rl Pt<A_ )
                                  i   r


       „   On this - ^   day of           V*                    ,2015 before me personally appeared
                                           ., as a duly authorized representative of Qentex Corporation,
to me known to be the individual who executed the foregoing instrument and acknowledged that
he executed the same as his free act and deed.




'NatarwPublic for vCorn front cjPot                                D n Sjj t ock y\ ( (X,
My Commission Expires: nt4( 9oC*1                                       0




                                                                                NOTARIAL SEAL
                                                                             LEE ANN SPAULDINQ
                                                                                 Notary Public
                                                                      FELL TOWNSHIP, LACKAWANNA CNTY
                                                                       My Commission Expires Nov 4, 2017




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DEFENDANTS:



                                                      Dated;         cPtJ/J     . 2015
Ronald Abbott
(as an individual and d/b/a helicopterhelmet.com)

HELICOPTER HELMET LLC


       /A
By:                                                   Dated:   (?// / <P-4/S      2015
            Ronald Abbott
Its:    Su,
State of SoUT-W /VlpeAimt.
County of XitOJQkS±Dti  )

       On this        day of , luin-e^                 , 2015 before me personally appeared
Ronald Abbott,  as an  individual and d/b/a helicopterhelm et.com, and as a duly authorized
representative of Helicopter Helmet, LLC, to me known to be the individual who executed the
foregoing instrument and acknowledged that he executed the same as his free act and deed.



      iMum Z.       &oudt&-A
                           2.
Ncfory Public for Scui-Vv CnroUina^
My Commission Expires: 3




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SCOTTSDALE INSURANCE COMPANY:



By:                                                       Dated:      -Ju-Kfc.       )             , 201 5
Name:                            cl-   PEcl
Its:     ewv



State of Mfrd/fcJ                )
County of &?f-k frtL «           )

         On this /$/    day of         Soai                       20 1 5 before me personally appeared
...Jlomas              EalI             , as a duly authorized representative of Seottsdale Insurance
Company, to me known to be the individual who executed the foregoing instrument and
acknowledged that he executed the same as his free act and deed.
                       \


                                 tm
Notary PuE ic   for
My Com ran                                             n®^-HSd
                                                                BALTIMORE COUNTY
                                                     My commission expires September27, 2




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